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                            UNITED STATES DISTRICT COURT
                           DISTRICT OF THE VIRGIN ISLANDS
                         DIVISION OF ST. THOMAS AND ST. JOHN


DISCOVER GROWTH FUND, LLC                   )
and JOHN KIRKLAND,                          )
                                            )
                       Plaintiffs,          )
                                            )
                  v.                        )      Civil Action No. 3:20-cv-00012-CVG-RM
                                            )
GBT TECHNOLOGIES, INC.                      )
                                            )
                       Defendant.           )



                       ORDER SETTING HEARING ON APPLICATION
                          TO CONFIRM ARBITRATION AWARD



        THIS MATTER is before the Court on Plaintiff’s Motion to Set Hearing on Application

to Confirm Arbitration Award. The premises being fully considered, it is hereby

        ORDERED that Plaintiff’s Motion is GRANTED, and the Application is set for hearing

at __:_____ AM/PM on the _____ day of March, 2020 in Courtroom _____ of the above-

entitled court.

        SO ORDERED this _____ day of March, 2020.




                                                   HON. RUTH MILLER
                                                   UNITED STATES MAGISTRATE JUDGE
